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UNITED STATES DISTRICT COURT                           DATE FILED: 8/11/20
SOUTHERN DISTRICT OF NEW YORK

 ROYAL PARK INVESTMENTS SA/NV,
 individually and on behalf of all others
                                                          MEMORANDUM ENDORSED
 similarly situated,
                         Plaintiff,                    1: 14-cv-06502-GHW
                 v.
 THE BANK OF NEW YORK MELLON, as
 Trustee,
                        Defendant.

                                 STIPULATION OF DISMISSAL

        WHEREAS on June 5, 2020, the parties submitted their Renewed Joint Motion for

Approval to Dismiss All Claims (Dkt. No. 205) (the "Renewed Motion");

        WHEREAS on June 8, 2020, the Court granted the Renewed Motion in the Order

Approving (1) Dismissal of Plaintiffs Claims with Prejudice and (2) Notice of Dismissal to

Current Holders (Dkt. No. 209) (the "Order");

        WHEREAS in the Order, the Court directed that, within ten calendar days of the Order or

a longer period as agreed to by the parties, The Bank of New York Mellon ("BNY Mellon") shall

post the Notice to the trust investor reporting website, as to those trusts for which BNY Mellon

administers the website, or send the Notice to the person or entity that administers the trust

investor reporting website and request that the Notice be posted, as to those trusts for which

BNY Mellon does not administer the website;

        WHEREAS in the Order, the Court directed that the parties shall file a Stipulation of

Dismissal attesting to the posting of the Notice and, if applicable, the absence of a substitute

derivative plaintiff not less than 40 calendar days after the date of the Order;
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The parties have stipulated to the dismissal of this action. The Court approved the parties' dismissal of this
action, subject to certain conditions, on June 8, 2020. Dkt. No. 209. Those conditions have now been satisfied.
The Clerk of Court is directed to close the case.
SO ORDERED.

Dated: August 11, 2020                                                     _____________________________________
                                                                                 GREGORY H. WOODS
                                                                                United States District Judge
